
22 So.3d 530 (2009)
Ex parte Brian Scott Culver
(In re Brian Scott CULVER v. STATE of Alabama).
1071641.
Supreme Court of Alabama.
May 15, 2009.
Herbie Brewer, Birmingham, for petitioner.
Submitted on petitioner's brief only.
Prior report: Ala.Crim.App., 22 So.3d 515.
MURDOCK, Justice.
The petition for the writ of certiorari is denied. In denying the petition for the writ of certiorari, this Court does not wish to be understood as approving all the language, reasons, or statements of law in the Court of Criminal Appeals' opinion. Horsley v. Horsley, 291 Ala. 782, 280 So.2d 155 (1973).
WRIT DENIED.
COBB, C.J., and LYONS, STUART, and BOLIN, JJ., concur.
